        Case 1:09-cv-01616-JEJ Document 1 Filed 08/21/09 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA



DWAYNE HARRIS                               )
                                            )    Case Number
               Plaintiff,                   )
                                            )
       vs.                                  )    CIVIL COMPLAINT
                                            )
NATIONAL ASSET RECOVERY                     )
SERVICES, INC.                              )    JURY TRIAL DEMANDED
                                            )
               Defendant.                   )
                                            )




                             COMPLAINT AND JURY DEMAND



       COMES NOW, Plaintiff, Dwayne Harris, by and through his undersigned counsel,

Brent F. Vullings, Esq. of Warren & Vullings, LLP, complaining of Defendant and

respectfully avers as follows:



                        I.       INTRODUCTORY STATEMENT



       1.      Plaintiff, Dwayne Harris (hereinafter “Plaintiff”), an individual consumer,

brings this action for actual and statutory damages and other relief against Defendant for

violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”),

which prohibits debt collectors from engaging in abusive, deceptive and unfair practices.
         Case 1:09-cv-01616-JEJ Document 1 Filed 08/21/09 Page 2 of 6




                                  II.          JURISDICTION


         2.    Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

§1337.

         3.    Venue in this District is proper in that the Defendant transacts business here

and maintains a registered office in this District.



                                        III.     PARTIES



         4.    Plaintiff, Dwayne Harris (“Plaintiff”) is an adult natural person residing at

2155 Madison Avenue, Apartment 2F, New York, NY 10037.

         5.    Defendant, National Asset Recovery Services, Inc. (“Defendant”), at all

times relevant hereto, is and was a Corporation engaged in the business of collecting debt

within the State of New York and the Commonwealth of Pennsylvania with its principal

place of business located at 16253 Swingley Ridge Road, Suite 300, Chesterfield, MO

63017 and a registered office located at 2704 Commerce Drive, Harrisburg, PA 17110.

         6.    Defendant is engaged in the collection of debts from consumers using the

mail and phone. Defendant regularly attempts to collect consumer debts alleged to be due

to another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.§1692a(6).



                            IV.    FACTUAL ALLEGATIONS



         7.    In or around June 2008, Plaintiff began to receive a series of harassing calls
        Case 1:09-cv-01616-JEJ Document 1 Filed 08/21/09 Page 3 of 6




from Defendant at his home with regard to collection of a debt allegedly owed to Town

Sports International for New York Sport Club membership dues.

       8.       Plaintiff explained to Defendant’s agents that the alleged debt was

disputed.

       9.       New York Sports Club’s employee, Christopher Gill agreed to a two (2)

year contract with Plaintiff at $567.00 per year.

       10.      Town Sports International disagreed with the arrangement and fired Mr.

Gill but refused to allow Plaintiff out of the contract and insisted on a higher yearly

payment.

       11.      Plaintiff therefore, considered the contract null and void.

       12.      Plaintiff did not use the gym membership.

       13.      Plaintiff requested that Defendant cease calling him with regard to the

alleged debt.

       14.      Defendant, by and through its agents, continued to call Plaintiff at his home

almost everyday, sometimes multiple times per day.

       15.      On or about July 12, 2008, Defendant sent Plaintiff his first collection

notice, which was more than 5 days after the initial contact. See collection notice

appended hereto and marked “EXHIBIT A”.

       16.      Plaintiff responded on or about July 14, 2008 to “EXHIBIT A” with a letter

disputing the alleged debt and specifically detailed the reasons for the dispute. See

Plaintiff’s letter appended hereto and marked “EXHIBIT B”.
        Case 1:09-cv-01616-JEJ Document 1 Filed 08/21/09 Page 4 of 6




        17.    On or about August 8, 2008, Defendant sent Plaintiff another collection

notice stating, “We know you are aware of the past due balance on your account.”

Defendant proceeded to offer Plaintiff a settlement amount. See collection notice

appended hereto and marked “EXHIBIT C”.

        18.    Additionally, in or around November 2008, Defendant’s agents began to

call Plaintiff at work and on his cell phone almost everyday, sometimes multiple times per

day.

        19.    Plaintiff has informed Defendant’s agents that he is not able to receive such

calls at work and requested that Defendant cease leaving messages on his work voicemail.

        20.    Defendant’s agents continue to call Plaintiff at work and on his cell phone

to the present time despite never having provided Plaintiff with validation of the alleged

debt or any other type of resolution to his dispute.

        21.    Defendant actions, as stated in paragraphs 7-19, were intentionally

harassing and abusive and cause the Plaintiff a great deal of emotional distress and

frustration.

        22.    The Defendant acted in a false, deceptive, misleading and unfair when they

engaged in conduct the natural consequence of which is to harass, oppress or abuse such

person in connection with the collection of a debt.

        23.    The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

their agent’s actions within compliance of the FDCPA, but neglected to do so and failed to

adequately review those actions to insure compliance with the law.
        Case 1:09-cv-01616-JEJ Document 1 Filed 08/21/09 Page 5 of 6




        24.     At all times pertinent hereto, Defendant was acting by and through it agents,

servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.

        25.     At all times pertinent hereto, the conduct of Defendant as well as its agents,

servants and/or employees, was malicious, intentional, willful, reckless, negligent and in

wanton disregard for federal and state law and the rights of the Plaintiff herein.

        26.     As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

including, but not limited to, injury to Plaintiff’s reputation, invasion of privacy, damage to

Plaintiff’s credit, out-of-pocket expenses, physical, emotional and mental pain and anguish

and pecuniary loss and he will continue to suffer same for an indefinite time in the future,

all to his great detriment and loss.



                                   COUNT ONE – FDCPA



        27.     The above paragraphs are hereby incorporated herein by reference.

        28.     At all times relevant hereto, Defendant was attempting to collect an alleged

debt which was incurred by Plaintiff for personal, family or household purposes and is a

“debt” as defined by 15 U.S.C. § 1692a(5).

        29.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of §§ 1692c(a)(1), c(a)(3), c(c), d, d(5), d(6), e,

e(2), e(10), e(11), f, f(1) and g(b).
        Case 1:09-cv-01616-JEJ Document 1 Filed 08/21/09 Page 6 of 6




        WHEREFORE, Plaintiff respectfully requests that this court enter judgment in his

favor and against Defendant, National Asset Recovery Services, Inc., and Order the

following relief:

        a.         Declaratory judgment that the Defendant’s conduct violated the FDCPA;

        b.         Actual damages;

        c.         Statutory damages pursuant to 15 U.S.C. §1692k;

        d.         Reasonable attorney’s fees and costs of suit pursuant to 15 U.S.C. §1692k;

and

        e.         Such addition and further relief as may be appropriate or that the interests of

justice require.



                                     V.      JURY DEMAND


        Plaintiff hereby demands a jury trial as to all issues herein.



                                          Respectfully submitted,

                                          WARREN & VULLINGS, LLP

        Date: August 19, 2009             BY: /s/Brent F. Vullings_
                                          Brent F. Vullings, Esquire
                                          Warren & Vullings, LLP
                                          1603 Rhawn Street
                                          Philadelphia, PA 19111
                                          215-745-9800 Fax 215-745-7880
                                          Attorney for Plaintiff
